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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 FINANCIAL INFORMATION
 TECHNOLOGIES, LLC,

        Plaintiff,                                    Case No.: 8:17-cv-00190-T-23MAP

 vs.

 ICONTROL SYSTEMS, USA, LLC,

       Defendant.
 ___________________________________/

           ICONTROL’S EXPEDITED MOTION FOR STAY OF EXECUTION
       TO SECURE A BOND OR EQUIVALENT SECURITY AND TO DETERMINE
              THE AMOUNT OF BOND OR EQUIVALENT SECURITY

        Defendant, iControl Systems, USA, LLC (“iControl”) respectfully moves, pursuant to

 Federal Rule of Civil Procedure 62, for a stay of execution until 30 days after this Court disposes

 of the renewed motion for a permanent injunction filed by plaintiff Financial Information

 Technologies, LLC (“Fintech”). iControl also asks that the Court determine the amount of the

 bond or equivalent security that iControl will be required to post in order to obtain a stay of

 execution pending appeal. Fintech does not consent to this Motion and does not consent to forgo

 execution pending disposition of this motion, which is why iControl seeks expedited

 consideration. 1




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          On September 3, 2020, Fintech served iControl with Fintech’s First Set of Interrogatories
 in Aid of Execution pursuant to Federal Rule of Civil Procedure 69. iControl’s responses are due
 in 30 days. iControl will respond to Fintech’s interrogatories in due course and does not seek a
 stay of post-judgment discovery; iControl seeks only a temporary stay of execution.
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                          Procedural Facts Giving Rise to This Motion

        This Court entered judgment against iControl for $5.7 million on March 5, 2020. (Doc.

 251). iControl moved for a stay of execution pending the Court’s disposition of the post-trial

 motions. (Doc. 260). Fintech did not consent to the requested relief but agreed that it would not

 attempt to execute on the judgment until the Court ruled on the stay motion. (Doc. 260). On

 August 10, 2020, this Court entered its Order on the post-trial motions, which denied the motion

 for stay of execution as moot but also denied Fintech’s motion for a permanent injunction, without

 prejudice. (Doc. 279). The Court’s Order determined that “the Florida Uniform Trade Secrets

 Act authorizes the injunction of specific, identifiable trade secrets but authorizes no blanket

 restraint of competition.” (Doc. 279 p. 3, citing East v. Aqua Gaming, Inc., 805 So. 2d 932, 935

 (Fla. 2d DCA 2001)). However, the Court also permitted Fintech until August 17, 2020, to renew

 its motion for permanent injunction “identifying with reasonable particularity the specific trade

 secrets for which Fintech requests an injunction.” (Doc. 279, p.4).

        Fintech did not timely renew its motion for permanent injunction by the deadline imposed

 by the Court. Instead, after the close of business on August 20, 2020, Fintech filed a motion for an

 extension of time to file its renewed motion for permanent injunction (Doc. 280), which iControl

 opposed (Doc. 281). On August 25, 2020, this Court granted Fintech leave to file a renewed

 motion for a permanent injunction “[n]o later than August 26, 2020.” (Doc. 283, p. 1). The Court

 also held that Fintech’s motion “must demonstrate ‘excusable neglect’ for the failure to timely

 move.” (Id.). Fintech filed its renewed motion on August 26, 2020. (Doc. 284). iControl opposes

 the motion, both on the ground that Fintech has not shown excusable neglect and on the merits, as

 explained in detail in iControl’s response to the renewed motion. Among other flaws, the proposed




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 injunction is vastly overbroad, is not limited to protectible trade secrets, and does not provide

 reasonable notice of what conduct is prohibited.

        Since March of 2020, iControl has been working with a lender to obtain a bond or other

 security to enable it to pursue an appeal of the judgment. As iControl previously explained, the

 lender was reluctant to underwrite a bond while Fintech’s original motion for a permanent

 injunction was pending, as Fintech’s requested injunction was so broad in scope that it would have

 significantly affected the value of the company. (Doc. 260, at 3). After Fintech failed to timely

 renew its motion, iControl’s lender indicated that it was willing to discuss terms on which it would

 underwrite a bond or an acceptable alternative (such as a letter of credit). iControl and the lender

 discussed the terms of such an undertaking, and iControl immediately began working diligently to

 meet the lender’s requirements. Unfortunately, Fintech’s attempt to late-file its renewed motion

 for injunctive relief has complicated the process. Although Fintech’s renewed request purports to

 be more narrowly tailored, the injunction terms Fintech has proposed are so sweeping and vague

 that they are not meaningfully different from Fintech’s previous request for a blanket injunction,

 which the Court denied. It will thus be difficult for iControl to obtain a bond or equivalent security

 while Fintech’s renewed motion remains pending.

              The Court Should Grant a Temporary Stay of Execution Pending
             Disposition of Fintech’s Renewed Motion for a Permanent Injunction

        Federal Rule of Civil Procedure “62(a) expressly recognizes” the Court’s authority to

 “supersede” the 30-day automatic stay “by ordering a stay that lasts longer.” Fed. R. Civ. P. 62,

 (Advisory Committee Note on 2018 Amendments). Rule 62(b) separately provides that “at any

 time after judgment is entered, a party may obtain a stay by providing a bond or other security.”

 Under Rule 62, iControl would be entitled to a stay under Rule 62(b) if it could provide a bond or

 other comparable security. iControl has been working with a lender to obtain such security.


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         Even without a bond, the Court has discretion under Rule 62(a) to extend the automatic 30-

 day stay as requested by this Motion. See United States v. O’Callaghan, 805 F. Supp. 2d 1321,

 1325 (M.D. Fla. 2011) (Merryday, J.) (“[I]f the judgment debtor posts no bond, whether to grant

 a stay is a matter ‘strictly within the judge’s discretion.’”); Whitesell Corp. v. Electrolux Home

 Prods., Inc., 2019 WL 2448665, at *2 (S.D. Ga. June 10, 2019) (“A district court certainly has the

 inherent discretionary authority ... to waive the bond requirement.”).

         It is appropriate to stay the execution of a judgment “in cases deemed ‘extraordinary,’ such as

 where defendants who face extremely large monetary judgments are unable to secure a supersedeas

 bond.” Columbia Cas. Co. v. Ker, Inc., 2009 WL 10673292, at *1 (M.D. Fla. Sept. 23, 2009). In this

 case, extraordinary circumstances, including Fintech’s repeated, inappropriate requests for an

 overbroad injunction, have impeded iControl’s efforts to secure a bond quickly. iControl nonetheless

 expects it will be able to quickly finalize the matter if the Court denies Fintech’s renewed motion for

 injunctive relief (either on the merits or because of Fintech’s failure to demonstrate excusable neglect).

 Moreover, to finalize those arrangements, iControl will also need this Court’s determination as to the

 amount of the bond or other security.

         The balance of equities here strongly favors a brief stay. Even in the case of a stay pending

 appeal, a court may stay a judgment without a bond “if the judgment debtor’s present financial

 condition is such that the posting of a full bond would impose an undue financial burden.” Poplar

 Grove Planting & Refining Co. v. Bache Halsey Stuart, Inc., 600 F.2d 1189, 1191 (5th Cir. 1979).

 In this case, iControl is not seeking a full stay pending appeal without a bond. Rather, iControl

 seeks a brief stay of execution to obtain a bond or other security following the Court’s resolution

 of Fintech’s renewed request for injunctive relief. Fintech will not be materially prejudiced by a

 short stay of execution, especially considering that in the meantime, iControl will respond to

 Fintech’s post-judgment discovery. iControl, on the other hand, will be irreparably harmed absent

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 a stay. (See Doc. 260 at 2-3). Allowing Fintech to execute on the $5.7 million judgment, without

 allowing iControl a brief extension to obtain a bond or equivalent security, would also be

 inequitable because Fintech’s continued improper request for an overly broad injunction has

 created the impediment to iControl’s obtaining such security.

        The Court Should Set the Amount of the Bond or Other Security at $6,270,000

        Federal Rule of Civil Procedure 62(d) “allows for a stay pending appeal if the appellant

 files a super[s]edeas bond. The stay is a matter of right.” U.S. v. Wylie, 730 F.2d 1401, 1402 n.2

 (11th Cir. 1984). The same Rule provides that this Court may approve a supersedeas bond and

 stay enforcement of the judgment pending appeal.

        iControl asks the Court to determine the amount of the bond or other security so that

 iControl can finalize its negotiations with its lender immediately following resolution of Fintech’s

 renewed motion for a permanent injunction. The Middle District’s local rules do not have a

 suggested formula for determining bonds. However, the Local Rules in the Southern District of

 Florida provide a formula of the amount of the judgment plus ten percent, S.D. Fla. L.R. 62.1(a).

 The Southern District’s guidelines have been followed in the Middle District. See Regions Bank

 v. Legal Outsource PA, No. 2:14-cv-476-FtM-PAM-MRM, 2017 WL 11461033, at *2 (M.D. Fla.

 Apr. 27, 2017) (setting the bond at 10% above the amount of the final judgment). Although some

 courts in the Middle District have at times set bonds at 25% above the amount of the final

 judgment, given current low postjudgment interest rates, a 10% cushion is more than adequate

 protection for Fintech’s $5.7 million judgment. Moreover, as the Court has not yet ruled on

 Fintech’s contested motion for attorney’s fees, the fees “are not part of any judgment and as such,

 [are] not properly included in a supersedeas bond.” Rezendes v. Domenick’s Blinds & Décor, Inc.,

 No. 8:14-cv-1401-T-33JSS, 2015 WL 5735419, *3 (M.D. Fla. Sept. 22, 2015). iControl thus asks



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 the Court to exercise its discretion to set the amount of the bond or equivalent security at 110% of

 the judgment, i.e. $6,270,000.

                                          CONCLUSION

        iControl asks that the Court grant this motion and enter a stay of execution of the judgment

 for 30 days after the Court disposes of Fintech’s renewed motion for permanent injunction.

 iControl also asks that the Court set the amount of the bond or other security iControl will be

 required to provide at $6,270,000.



              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 3.01(g)

        I certify that counsel for the parties engaged in good faith communications by telephone

 and in writing in an attempt to resolve the issues presented in this Motion. Despite the good faith

 communications, the parties were unable to resolve their conflicting positions.

                                                /s/ Jeffrey S. Bucholtz
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                                 CERTIFICATE OF SERVICE

        I certify that on September 4, 2020, I electronically filed the foregoing via the Court’s

 CM/ECF filing system, which will send a notice of filing to all counsel of record.

                                              /s/ Jeffrey S. Bucholtz
                                              Jeffrey S. Bucholtz




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